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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   BALKRISHNA SETTY, et al.,

 9                              Plaintiffs,                Case No. C17-1146-MLP

10          v.                                             ORDER

11   SHRINIVAS SUGANDHALAYA LLP, et
     al.,
12
                                Defendants.
13

14
            On March 12, 2025, the Court granted Plaintiffs Balkrishna Setty and Shrinivas
15
     Sugandhalaya (BNG) LLP’s (together, “Plaintiffs”) Motion to Compel against Defendant
16
     Shrinivas Sugandhalaya LLP (“Defendant”) (dkt. # 199). (Dkt. # 223.) The Court ordered
17
     Defendant to pay Plaintiffs’ reasonable expenses incurred in bringing the motion to compel. (Id.
18
     at 3.) Pursuant to Plaintiffs’ fee petition (dkt. # 227), on April 16, 2025, the Court ordered
19
     Defendant to pay Plaintiffs’ $20,870.00 in attorneys’ fees within 30 days. (Dkt. # 237 at 8.)
20
            On March 28, 2025, the Court held Defendant in civil contempt for failure to comply
21
     with the Court’s Orders related to Plaintiffs’ motion to compel. (Dkt. # 232; see dkt. ## 219,
22
     223.) The Court imposed sanctions of $250.00 for each day Defendant failed to comply,
23
     beginning March 27, 2025. (Dkt. # 232 at 4-5.) The Court provided, however, that these



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 1   sanctions would be deferred if Defendant demonstrated substantial compliance by the next

 2   scheduled status conference, set for April 10, 2025. (Id. at 5.) On April 11, 2025, the Court found

 3   that Defendant was not in substantial compliance, and the sanctions would not be deferred. (Dkt.

 4   # 236 at 2.) At the next status conference on May 1, 2025, the Court again found that Defendant

 5   had not substantially complied. (See dkt. # 240.) At the following status conference, held on May

 6   22, 2025, the Court determined that Defendant had achieved substantial compliance with the

 7   Court’s Orders. (See dkt. # 243.)

 8          Accordingly, sanctions for the period from March 27, 2025, through May 22, 2025,

 9   totaling $14,250.00, are due. Defendant is ORDERED to pay $14,250.00 to the Court Registry

10   within fourteen (14) days of this Order. Pursuant to Local Civil Rule 67, acceptable forms of

11   deposit are cashier’s or business check made payable to “USDC Court Clerk.” Upon receipt, the

12   Clerk is directed to deposit funds into the Registry of the Court in the principal amount of

13   $14,250.00.

14          The Court also notes that, at the conference on May 22, 2025, Plaintiffs and Defendant

15   informed the Court that Defendant had not paid Plaintiffs the attorneys’ fees awarded for

16   bringing the motion to compel. (See dkt. #243.) If Defendant has not paid Plaintiffs the awarded

17   fees within fourteen (14) days from the date of this Order, the Court will consider additional

18   sanctions.

19          Dated this 22nd day of May, 2025.

20
                                                          A
21                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
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